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EMPLOY`MENT LAW`YERS GROUP

KARL GERBER, sBN; 166003 p\:\ ?.'- 35
ANN GULESER, sBN; 210790 1111 1130 __
13418 Ventura Boulevard 11_ ;__ ` '- ` 0
Sherman Oaks, Ca.lifomia 91423 C-\f;;`\.i"\1:{:\r1` " ' " ~_ _
Telephone: 818 783 7300 __,-._-»"’""
Facsimile: 818 995 7159 114 -//' `

Attomeys for Plaj.ntiff
MARTI'N DRYAN

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SUPERIOR COURT FOR THE STATE OF CALIFORNIA

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COUNTY OF LOS ANGELES, CENTRAL DISTR.ICT

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MARTIN DRYAN, an individual ) CASE NO.: 5 : 14-cv~0 1428-115ch
)
Plaintiff, ) F[RST AMENDED COMPLAINT
) FOR DAMAGES AND DEMAND
vs. ) FOR JURY TRIAL ON CLAIMS

) FOR RELIEF 1 AND 3 BASED
AMI CELEBRITY PUBLICATIONS, ) UPON: ' '

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13 LLC, a Califomia Corporation; and )

19 DOES l through 100 inclusive ) 1. CALIFORNIA LABOR CODE
) SECTION 226 PENALTIES;

20 Defendam. ) 2. cALIFoRNIA BUSINESS AND

21 ) PROFESSIONS CODE

22 ) SECTION 17200 VIOLATIONS;
) 3. PENAL'I`IES PURSUANT TO

23 ) LABOR CODE SECTION 2699.

24 )

25 Plaintlff, MARTIN DRYAN, by his attorneys, against Defenda.nt alleges:

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FIRST AMENDED COMPLAINT

 

 

 

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Case 5:14-CV-01428-R-SP Document 11 Filed 07/30/14 Page 2 of 34 Page |D #:1J

.TURISDICTION AND VENUE
I. This complaint Was removed to Federal court by Defendant pursuant to 28
U.S.C. §§ 1331 and l44l(b) (Diversity Jurisdiction) on July 11,2014.
2. Defendant's Answer Was filed on July 9, 2014.
3. Veriue is proper in the Central District of Califomia because a substantial
part of the events and omissions giving rise to the Plaintiff"s claims occurred in

this district

INTRODUCTION
4. This action is for damages arising out of Defendant’s failure to provide
Plaintiff proper and complete wage statements, and mischaracterizing hirn as an

independent eontractor.

TYPE OF ACTION
5. In addition to his private claims, Plaintiff is bringing claims for penalties
under the Labor Code Private Attorneys General Act of 2004 (California Labor
Code Section 2699) for the same violations on behalf of similarly situated

employees of Defendant.
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F`IRST AMENDED COMPLAINT

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l Case 5:14-cV-Ol428-R-SP Document 11 Filed 07/30/14 Page 3 of 34 Page |D #:1]

 

 

PARTIES
6. Plaintiff, MARTIN DRYAN (“Plaintiff”), is a male resident of the County of
Riverside, State of Califomia.
7. Plaintiff is informed and believes that at all times herein mentioned,
Defendant, AMI CELEBRITY PUBLICATIONS, LLC, (“AMI”) a foreign
corporation, using 6420 Wilshire Blvd. Floor 15, Los Angeles, CA 90048, as its
place of business, and employs more than five (5) persons and Plaintiff there.
8. Plaintiff is ignorant of the true names and capacities, whether individual,
corporate, or associate, of those Defendants fictitiously sued as DOES 1 through
100 inclusive and so the Plaintiff sues them by these fictitious names Plaintift` is
informed and believes that each of the DOE Defendant reside in the State of
Calil`omia and are in some manner responsible for the conduct alleged herein.
Upon discovering the true names and capacities of these fictitiously named
Defendants, Plaintiff will amend this complaint to show the true names and
capacities of these fictitiously named Defendants.
9. Unless otherwise allege in this complaint, Plaintiff is informed, and on the
basis of that information and belief allege that at all times herein mentioned, each
of the remaining codefendant, in doing the things hereinafter alleged, Were acting
Within the course, scope, and under the authority of their agency, employment, or

representative capacity, with the consent of her/his codefendant

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FIRST AMENDED COMPLAINT

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' Case 5:14-cV-Ol428-R-SP Document 11 Filed 07/30/14 Pa,ge_4 of 34 Page|D #:1J

10. All of the foregoing and following actions taken towards laintiff that are
alleged in this complaint Were carried out by managerial employees and agents of
each other acting in a deliberate, cold, callous, malicious, oppressive, and

intentional manner in order to injure and damage Plaintiff.

FACTUAL ALLEGATIONS
11. Plaintiff started working for AMI as an employee in January 2010.
12. Plaintiff similarly situated current and forrnerjournalists working for
Defendant were employees of AMI. AMI controlled the hours, schedule and
assignments of them. Plaintiff and all similarly situated current and former
journalists working for Defendant had to report to work every day that he was not
assigned to an assignment outside of the office. Theirjob assignments and duties
were controlled by AMI. However, Defendant willfully misclassified Plaintiff and
similarly situated current and fenner journalists working for Defendant as
independent contractors so that Defendant could avoid paying taxes on their
behalf. Plaintiff and similarly situated current and former journalists Working for
Defendant were misclassified as an independent contractors but the requirements
of their job was to report to the office and work in the office unless they were sent

by Defendant to assignments

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FIRST AMENDED COMPLAINT

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` Case 5:14-cV-Ol428-R-SP Document 11 Filed 07/30/14 Page 5 of 34 Page |D #:11

CLAIMS FOR RELIEF
FIRST CLAIM FOR RELIEF
FOR CALIFORNIA LABOR CODE SECTION 226 PENALTIES

(AGAINST DEFENDANT AMI AND ALL DOE DEFENDANTS)

13. Plaintiff realleges and incorporates by reference all allegations contained in
Paragraphs 1-12 as though fully stated in this Claim for Relief.

14. California Labor Code Section 226(a) states every employer shall,
semimonthly or at the time of each payment of wages, furnish each of its
employees an accurate itemized statement in writing showing the number of piece-
rate units earned and any applicable piece rate if the employee is paid on a piece-
rate basis, the name and address of the legal entity that is the employer and the
inclusive dates of the period for which the employee is paid and only the last four
digits of employee’s social security number or an employee identification number.
15. AMI violated California Labor Code Section 226(a) because Plaintiff`s
paycheck stubs did not show the number of piece-rate units earned and any
applicable piece rate, the name and address of the legal entity that is the employer
and the inclusive dates of the period for which the employee was paid, and the last
four digits of Plaintiff’s social security number or an employee identification

number. Plaintiff was not given valid statements indicating why he was being paid

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FIRST AMENDED COMPLAINT

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what he was being paid and no proper taxes were withheld from Plaintiff’s
paychecks Plaintiff’s paycheck stubs did not reflect any itemizations of tax
withholdings or deductions at all.

16. Plaintiff prays for the remedies provided by California Labor Code Section
226(e) whereby the employer is to pay $50.00 for the initial violation and $lO0.00
for each subsequent violation.

17. Under California Labor Code Section 226(e), Plaintiff also prays for attorney
fees and costs.

18. Plaintiff also prays for attorney fees under California Labor Code Section

218.5.

SECOND CLAIM FOR RELIEF
CALIFORNIA BUSINESS AND PROFESSIONS CODE SECTION 17200
VIOLATIONS

(AGAINST DEFENDANT AMI AND ALL DOE DEFENDANTS)

19. Plaintiffrealleges and incorporates by reference all allegations contained in
Paragraphs 1-12, Paragraphs 13-18 of the First Claim for Relief and incorporates

those paragraphs as though fully stated in this Claim for Relief.

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FIRST AMENDED COMPLAI`NT

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Case 5:14-cV-Ol428-R-SP Document 11 Filed 07/30/14 Page 7 of 34 Page |D #:12_

20. In the State of California, over the 4 years preceding the filing of this
lawsuit, the Defendant to this cause of action engaged in unfair competition and
unlawful business practices by engaging in the Labor Code violations that form the
First Cause of Action. Basically, Defendant failed to correctly classify Plaintiff as
an employee, failed to pay the correct amount of taxes as withholdings, and failed
to provide proper itemizations on checks in violation of Califomia Labor Code
Section 226. AMI violated California Labor Code Section 226(a) because
Plaintiff’ s paycheck stubs did not show the number of piece-rate units earned and
any applicable piece rate, the name and address of the legal entity that is the
employer and the inclusive dates of the period for which the employee was paid,
and the last four digits of Plaintiff’s social security number or an employee
identification number.

21. All of the other statutes, enumerated in the First Claim for Relief were
violated by Defendant thereby creating a system of deception towards their
employees and the government as well as an unfair competitive environment
because Defendant’s competitors ran their businesses without violating these laws
Defendant’s failure to abide by these Labor laws specified in the first cause of
action saved money in labor costs and considerable money in worker‘s

compensation premiums This enabled them to compete unfairly due to these lower

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FIRST AMENDED COMPLAlNT

 

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" Case 5:14-cV-Ol428-R-SP Document 11 Filed 07/30/14 Page 8 of 34 Page |D #:12_

costs and earn considerably more profit than their competitors who abided by the
law in violation of California Business and Professions Code Section 17200.

22. Plaintiff prays that California Business and Professions Code Section 17202
be utilized to enforce the labor laws specified in the first cause of action and
require Defendant to pay restitutionary remedies for overtime and double time
wages to Plaintiff.

23. Plaintiff further prays that California Business and Professions Code Section
17203 be utilized to enjoin Defendant from further engaging in the unlawful and
unfair business practices specified in this cause of action and the first cause of

action.

THIRD CLAIM FOR RELIEF
PENALTIES PURSUANT TO LABOR C()DE SECTION 2699

(AGAINST DEFENDANT AMI AND ALL DOE DEFENDANTS)

24. Plaintiff realleges and incorporates by reference all allegations contained in
Paragraphs l-12, Paragraphs 13-18 of the first Claim for Relief, Paragraphs 19-23
of the Second Claim for Relief and incorporates those paragraphs as though fully

stated in this Claim for Relief.

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FIRST AMENDED COMPLAI`NT

 

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25. Pursuant to Labor Code Section 2699(a), which provides that any provision
of the Labor Code that provides for a civil penalty to be assessed and collected by
the Labor and Workforce Development Agency may, as an alternative, be
recovered through a civil action brought by an aggrieved employee on behalf of
himself and other current or former employees Plaintiff, on behalf of himself and
all similarly situated current and former journalists working for Defendant in
California, seeks recovery of civil penalties under the following Labor Code
Sections: 226.8, 226, and 226.3.

26. California Labor Code Section 226.8(a)(1) states that it is unlawful for any
person or employer to engage in willful misclassification of an individual as an
independent contractor.

27. Plaintiff and all similarly situated current and former journalists working for
Defendant were willfully misclassified as independent contractors in violation of
California Labor Code Section 226.8(a)(l).

2_8. California Labor Code §226(a) states in pertinent part every employer shall,
semimonthly or at the time of each payment of` wages, furnish each of its
employees an accurate itemized statement in writing showing the number of piece-
rate units earned and any applicable piece rate if the employee is paid on a piece-

rate basis, the name and address of the legal entity that is the employer and the

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FIRST AMENDED COMPLAINT

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inclusive dates of the period for which the employee is paid and only the last four
digits of employee’s social security number or an employee identification number.
29. Plaintiff and all similarly situated current and formerjournalists were not
given valid pay check stubs/statements AMI violated California Labor Code
Section 226(a) because Plaintiff and all similarly situated current and former
journalists’ paycheck stubs did not show the number of piece-rate units earned and
any applicable piece rate, the name and address of the legal entity that is the
employer and the inclusive dates of the period for which the employee was paid,
and the last four digits of their social security number or an employee identification
number. Plaintiff and all similarly situated current and fenner journalists were not
given valid statements indicating why they were being paid what they were being
paid and no proper taxes were withheld from their paychecks Plaintiff and all
similarly situated current and former journalists’ paycheck stubs did not reflect any
itemizations of tax withholdings or deductions at all.

30. California Labor Code Section 226.3 states any employer who violates
subdivision (a) of Section 226 shall be subject to a civil penalty in the amount of
two hundred fifty dollars ($250) per employee per violation in an initial citation
and one thousand dollars ($1,000) per employee for each violation in a subsequent
citation, for which the employer fails to provide the employee a wage deduction

statement or fails to keep the records required in subdivision (a) of Section 226.

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FIRST AMENDED COMPLAINT

 

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The civil penalties provided for in this section are in addition to any other penalty
provided by law.
31. AMI violated Labor Code Section 226.3 because AMI violated California
Labor Code Section 226(a). Plaintiff and all similarly situated current and former
journalists ‘paycheck stubs did not show the number of piece-rate units earned and
any applicable piece rate, the name and address of the legal entity that is the
employer and the inclusive dates of the period for which the they were paid, and
the last four digits of their social security number or their employee identification
number.
32. Pursuant to Labor Code Section 2699(f`)(2), which provides that for all
provisions of the Labor Code except those for which a civil penalty is specifically
provided, there is established a civil penalty for a violation of these provisions,
Plaintiff seeks recovery of civil penalties under the following Labor Code Sections
226.8(a)(1), and 226.8(a)(1).as follows:
a. One hundred dollars ($lO0.00) for each aggrieved employee per pay
period for the initial violation; and
b. Two hundred dollars ($200.00) for each aggrieved employee per pay
period for each subsequent violation
33. Pursuant to Labor Code Section 2699(@(2), which provides that for all

provisions of the Labor Code except those for which a civil penalty is specifically

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FIRST AMENDE.D COMPL.AINT

 

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provided, there is established a civil penalty for a violation of these provisions
Plaintiff seeks recovery of civil penalties under the following Labor Code Sections
226.8(a)(l), and 226(a) as follows:
a. One hundred dollars ($lO0.00) for each aggrieved employee per pay
period for the initial violation; and
b. Two hundred dollars ($200.00) for each aggrieved employee per pay
period for each subsequent violation.
34. Pursuant to Labor Code Section 2699(f)(2), which provides that for all
provisions of the Labor Code except those for which a civil penalty is specifically
provided, there is established a civil penalty for a violation of these provisions,
Plaintiff seeks recovery of civil penalties under the following Labor Code Sections
226.8(a)(1), and 226(3) as follows:
a. One hundred dollars ($100.00) for each aggrieved employee per pay
period for the initial violation; and
b. Two hundred dollars ($200.00) for each aggrieved employee per pay
period for each subsequent violation.
35. Labor Code Section 2699.3(a) states in pertinent part:
A civil action by an aggrieved employee pursuant to subdivision (a) or
(f) of Section 2699 alleging a violation of any provision listed in
Section 2699.5 shall commence only after the following requirements

have been met: (1) The aggrieved employee or representative shall
give written notice by certified mail to the Labor and Workforce

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FIRST AME,NDED COMPLAINT

 

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Case 5:14-cV-01428-R-SF.f` Document 11 Filed 07/30/14 Page 13 of 34 Page |D #:127

Development Agency and the employer of the specific provisions of

this code alleged to have been violated, including the facts and

theories to support the alleged violation
36. Plaintiff alleges violations of Labor Code Section 226.8(a)(l), and 226(a).
Plaintiff complied with the Labor Code Private Attorneys General Act of 2004 in
that Plaintiff gave written notice by certified mail to the Labor and Workforce
Development Agency and the named Defendant of the specific provisions of the
Labor Code alleged to have been violated, including the facts and theories to
support the alleged violation on June 12, 2014. Attached hereto as Exhibit 1 is a
true and correct copy of Plaintiff" s letter. On July 21, 2014, Labor and Workforce
Development Agency indicated they would not be investigating Plaintiff’s claims
Attached hereto as Exhibit 2 is a true and correct copy of Labor and Workforce
Development Agency’s letter. The Labor and Workforce Development Agency’s
failure to initiate an investigation against Defendant for the type of Califomia
Labor Code Section 226 violations enumerated in Exhibit 1 bars them from
recovery of Private Attorneys General Act of 2004 penalties for these types of
violations and exhausts Plaintiff" s administrative remedies including for Califomia
Labor Code Section 2699 violations of Labor Code Section 226.3 as mentioned in
Plaintiff’s July 24, 2014 letter to Defendant’s counsel and The Labor and
Workforce Development Agency a true and correct copy of which is attached

herein as Exhibit 3.

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FIRST AMENDED COMPLAINT

 

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37. Plaintiff alleges violations of Labor Code Section 226.3. Plaintiff complied
with he Labor Code Private Attorneys General Act of 2004 in that Plaintiff gave
written notice by certified mail to the Labor and Workforce Development Agency
and the named Defendant’s attorney of the specific provisions of the Labor Code
alleged to have been violated, including the facts and theories to support the
alleged violation on July 24, 2014. Attached hereto as Exhibit 3 is a true and
correct copy of Plaintiff's letter.

38. Plaintiff complied with the administrative exhaustion requirements of the
Labor Code Private Attorneys General Act of 2004 and has authorization
therefrom to commence a civil action which includes a representative cause of

action pursuant to Labor Code Section 2699.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the following relief, to be determined by a
jury for the First Claim for Relief as follows:
1. For general damages in an amount according to proof, but in excess of the
minimum jurisdiction of this court;
2. For special damages in an amount according to proof, but in the excess of

the minimum jurisdiction of this court, in order to compensate the Plaintiff

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FIRST AMENDED COMPLAI`NT

 

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' Case 5:14-cV-01428-R-SE` Document 11 Filed 07/30/14 Page 15 of 34 Page |D #:1

. For all general and special damages in an amount according to proof, but in

. For punitive damages, as allowed by law, in an amount to be ascertained,

. All statutory penalties, remedies allowed, interest under Labor Code Section

. For all costs and disbursements incurred in this suit;
. For such other and further relief as the Court deems just and proper;

. For all interest as allowed by law;

For the Second Claim for Relief:

9. For the court to fashion all restitutionary remedies possible and any other

For the Third Claim for ReliefPlaintiff and all similarly situated current and

former journalists pray:

for loss of past and future earnings, and all damages flowing from the

Plaintiff‘s loss of earnings, loss of job security, failure to properly advance

within Plaintiffs career;

the excess of the minimum jurisdiction of this court;

according to proof, that will sufficiently punish all named Defendants, make

an example of them, and deter future conduct;

218.6, attorney fees and costs under Califomia Labor Code Section 218.5;

relief the court deems suitable.

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FIRST AMENDED COMPLAINT

 

' Case 5:14-cv-01428-R-SF.,_" Document 11 Filed 07/30/14 Page 16 of 34 Page |D #:1
1 10. For all penalties provided under Labor Code Section 2699(f)(2);
2
3 11. For reasonable attorney’s fees and costs pursuant to Labor Code Section
4 2699(§)(1)-
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7 DATED: July 30, 2014 Respectfully Submitted,
8 EMPLOYMENT AWYERS GROUP
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Byf /
11 Ka'rf erber
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Attorneys for Plaintiff
13 MARTIN DRYAN
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Federal Rules of Civil Procedure.

DATED: July 30, 2014

By:

' Case 5:14-cV-01428-R-SR` Document 11 Filed 07/30/14 Page 17 of 34 Page |D #:1

DEMAND FOR JURY TRIAL

Plaintiff hereby demands a jury trial as provided by Rule 38(a) of the

Respectfully Submitted,

EMPLOYMENT LA_WYERS GROUP

Q/X

Karl r er

Arm eser
Attorneys for Plaintiff
MARTIN DRYAN

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Case 5:14-cv-01428-R-SF{"` Document 11 Filed 07/30/14 Pag'e 18 of 34 Page |D #:132

PROOF OF SERVICE
U.S. DlSTRICT COURT CENTRAL DISTR.ICT OF CALIFORNIA
CASE NUMBER 5:14-cv-01428-R-SP

I am employed in the City of l_,os Angeles, State of Califomia I am over the age of l8 years and not a party
to the within action. My business address is 13418 Ventura Boulevard, Sherman Oaks, CA 91423, on the below
date I served the following documents:

FIRST Al\/[ENDED COMPLAINT FOR DAMAGES AND DEMAND FOR
JURY TRIAL

Andrew .1. Jaramillo

Altus Law Firm

l Park Plaza, 6th Floor

lrvine, Califomia 92614

949-852-73 83
andrew.jaramillo@altuslawfirm.com

A!Iorneyfor Defendant AMI CELEBRIT¥ PUBLICATIONS, I_.I_.C

Said documents were served in each of the following manners as indicated by an "(X)" before such mode of service:

(-) BY U.S. MAIL I caused each such envelope with postage thereon fully prepaid, to be placed in the United
States mail at Sherman Oaks, CA on July 30, 2014. 1 am familiar with the practice of my employer for collection
and processing of the correspondence for mailing, said practice being that in the ordinary course of business, mail is
deposited in the United States mail the same day as it is place for collectionl

(|:|) BY OVERNIGHT DELIVERY l caused such envelope to be delivered to the Federal Express Office with
delivery fees fully prepaid for overnight delivery to the office(s) of the addressee(s).

(I:I ) BY “FAX" to the above-named person(s). Upon completion of said facsimile iransmission, the transmitting
machine issues a transmission report showing the transmission was complete and without enor.

(I:I ) EI_.ECTRONIC MAIL, Based on a court order or an agreement of the parties to accept service by e-mail or
electronic transmission, I caused the document to be sent to the persons at the e-mail address(es) listed above on.

(|:|) BY PERSONAL SERVICE, by delivering a copy of the document(s) listed above to the person(s) at the
address(es) set forth above.

(I:I) STATE l declare under penalty of perjury under the laws of the State of Califomia that the foregoing is true
and correct.

(-) FEDERAL I declare under the laws of the United States of America that l am employed in the office of a
member of the Bar of this Court at whose direction the service was made and that the foregoing is true and correct

Executed on .luly 30, 2014, at Sherman Oaks, Califomia @/©,l/\S_/

Izumi Kono

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FIRST AMENDED COMPLAINT

 

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The Gerber Bu:ilding

_ P _ 13418 Ventura Boulevard

' Sherman Oaks, Califomia 91423

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June 12, 20 1 4

Vz'a U.S. Cerrified Moz'l (Return Receigt Reguesredl
Labor & Worlcforce Development Agency

801 K Street, Suite 2101

Sacramento, CA 95814

Registered Agent

AMI Celebrity Publications, LLC
CT Corporation System

1200 South Pine Island Road
Plantation, FL 33 324

AMI Celebrity Publications, LLC
The Corporation Trust Company
Corporation Trust Center

1209 Orange St.

Wilmington, New Castle, DE 19801

Re: Labor Code Vio!atr'oas ofAMI Celebrity Publicat:`ons, LLC - Complr'ance Len‘er of
Califomia Labor Code § 2693 er sec. - Private Attomeys Gen era£ Act

Dear Department and Employer:

Please accept the following paperwork as an attempt to comply with Califomia Labor Code
Sections 2699.3 and 2699.5, requiring written notice by certified mail to the Labor and Workforce
Development Agency and the employer of the specific provisions of the Labor Code that have been
violated by his employer AMI Celebrity Publications, LLC (“AMI”)

Martin Dryan retained this office to represent him and similarly situated employees to
prosecute AM[ Celebrity Publications, LLC and mexican Media, Inc.’s violations of Labor Code
Sections 226.8, 226.

Set forth below, Mr. Dyran provides the following synopsis of damages he and other
similarly situated employees of the AMI have suffered and the civil penalties they seek to collect as
Labor Code Section 2699 claimants At this time, Mr. Dyran is still investigating the number of
employees misclassitied by AMI. Mr. Dyran believes AMI may have employed about 30
journalists during the statutory time pericd. As such, the damage calculations below may change
once the total number of affected employees has been determined through the litigation discovery
process.

Telephone: (818) 783-7300 - (310) 842-8600 - (323) 525-1600 - (87'?) 525-0700 ' Facsimile (818)_995-7159

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Mr. Dyran’s representative claims involve misclassitication of employees as independent
contractors so that AMI could avoid paying taxes on their behalf Califomia Labor Code Section
226.8(a)(1) states that it is unlawful for any person or employer to engage in willful
misclassitication of an individual as an independent contractor.

Accordingly, Mr. Dryan claims Califomia Labor Code Section 2699 penalty of one hundred
dollars ($ 100) for each aggrieved employee per pay period for the initial Violation and two hundred
dollars ($200) for each aggrieved employee per pay period for each subsequent violation. The
amount claimed for this violation for three years is at least $480,500 [(25 pay periods x $200 -i- $ 100
x 31 people for the first year)+( $200 x 26 pay periods x 31 people x 2 years)].

Mr. Dryan and the other similarly situated journalists were not given valid pay check
stubs/statements Califomia Labor Code Section 226(a) states every employer shall, sentimentth or
at the time of each payment of wages, furnish each of its employees an accurate itemized statement
in writing showing the number of piece-rate units earned and any applicable piece rate if the
employee is paid on a piece-rate basis, the name and address of the legal entity that is the employer
and the inclusive dates of the period for which the employee is paid and only the last four digits of
employee’s social security number or an employee identiiication number. AMI violated Califomia
Labor Code Section 226(a) because Mr. Dyran’s and other similarly situated journalists’ paycheck
stubs did‘ not show the number of piece-rate units earned and any applicable piece rate, the name
and address of the legal entity that is the employer and the inclusive dates of the period for which
the employee was paid, and the last four digits oer. Dyran’s social security number or an
employee identiiic ation number. Mr. Dyran was not given valid statements indicating why he was
being paid what he was being paid and no proper taxes were withheld nom Mr. Dyran’s paychecks.
Mr. Dyran’s paycheck stubs did not reflect any itemizations of tax withholdings or deductions at all.

Accordingly, Mr. Dryan claims Califomia Labor Code Section 2699 penalty of one hundred
dollars ($100) for each aggrieved employee per pay period for the initial violation and two hundred
dollars ($200) for each aggrieved employee per pay period for each subsequent violation. The
amount claimed for this violation for three years is at least $480,500 [(25 pay periods x $200 + 3100
X 31 people for the first year)+( $200 x 26 pay periods x 31 people x 2 years)].

Please note the foregoing amount does 1_1_9§ include compounded interest over the statutory
period, nor attomey’s fees and costs incurred by this office in prosecuting their claims. Cal. Govt.
Code § 2699(g)(1).

Should either of you need additional information, please feel free to contact me.

Very truly yours,

Employrnent Lawyers Group

 

MI/ Ann Guleser

' Case 5:14-CV-Ol428-R-S|'T;’"' 'Document 11 Filed 07/30/14 Pag"'é_ 22 of 34 Page |D #:136

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QEPA RTMENT 03 [NDUSTRlAL RELM`IONS - DWISION OF LA'BOR STA NDARD$ EN FORCEMENT

 

 

 

 

 

 

FOR DFFICE UBBON LY

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Initial Report Or Claim ‘ 't'ett=n lou officer t'.'csel'l
PLEASE PRINT OR TYPE ALL INFORMATION o‘“‘ mm s'c "
Refer to the accompanying Glride to osrl.rr you lrr_,"lilr'ng our rhl.rj'.'rru. __
BCl Cem|l|einll Act|on:
I:l res l:l No

 

 

 

FREL|MI NARY QUESTIONS

1. ls your claim about a public works prolect? [tf your answer le "‘r'ES," STOF here, DO NOT FILL OUT THlS FORM, and ll|| out the "PW-‘l" claim
form instead. lt your answer is "NO,'* proceed with this form.l

 

 

2. Hevo you lllod a retaliation complaint against your employer wllh the Labor Comrnissioner?

|:I YES. on: l l NO {lf you have been retalleted agelnet, you may fl|e a retaliation
Monlh Day Year complaint by filling out another form, "DLSE FORM 205."]

 

3. is there a union contract covering your employment?
[:[YES {lf "‘{ES," attach a copy el the Goliectlvo Barga|nlng Agreement.]

.NO

 

4. Are olher employees also filing wage claims against your employer? !:|YES UNO Ut DON‘T KNOW

 

Par¢ 12 LAN'GU-AGE ASSISTANCE 81 REPRESENT'ATION

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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63. ll you are being olseisted with your claim by a lawyer or other advocate. enter your ADVOCATE‘S NAME 6b. ADVOGATE'S PHONE
and oRGANtzAT ON
81 8
Ann Guieser Emp|oyment Lawyers Group { l 7837300
66. Your ADVOCATE'S MA|L[NG ADDRESS (i'lumber, Sireet. F|oor. Su|tel Ci`i'Y §TATE Z|P CODE
13418 Ventura Blvd. Sherman Oal<s CA 91423
Part 2: YOLIR INFORMATION
7. Your FIRST NAlirlE 8. Your LAST NAME 9. HOME PHONE 10. OTHER PHONE 11. BIRT|'| DATE
Nlartin Dyran f310 1390 0455 t } 11-26-1962
12. Yuur MNL[NG ADDRESS {Street Nurnber. S|reet Neme, Apenmeni Numberl ClTY STATE_ Z¥P CODE
5994 Londonderg Drive Ri\rersicie CA 92504
Par't 3: CLAIM Fl LED AGAINST [EMPLOYER INFORMATION]
13. EMPLOYER .~' BUS|NESS NAME(S} 14. EMFLoYER's vEchLE LlceNsE PLATE # 15. EMPLOYER PHoNE
AMI Celebrity Publications, LLC ( l
15. ADDRESS 0|' EMPLOYER l BUS!NESS [S|reoi l'~lumber, S|reel Narna, F|oor. Sulle}: C!TY STATE ZlF' COUE
CT Corporation Systcm 1200 South Pine leland Road Plantation FL 33324
The Corpcration Trust Compeny Corporailon Trust Center 1209 Orange St. W||mington. New Cast|e DE 19801
17. ADDRESS where you worked. ll different from Box 15 {Number, Street. Ftoor, S\:llel: CiTY STATE-_EP CODE
AN|I Ce|ebrity Publications, LLC 6420 Wltsh|re B|vd. Fioor 15 Los Angeles CA 90048
18. NAME cr PERSON !N GHARGE (Fr¢s\ Name. cost uama} 19. JOB TlTl.E rPOSlTloN cl PERSON m cHARGE
N|anager
20. TYFE oF euslness 21 . TYPE oF woRK PERFonMEo 22. 'ro'r.u. NuMeER 23. EMPLoYER erlLL lN eustNEss?
Magazlne publication journalism m...oqmrmmum

 

 

 

 

24. Checlt which box describes your employer.'||’you know: |:]CGRPORAT\ON L'.llNDlVltJUAL Cl PARTNERSH|P LLC 5 LLP

 

 

 

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Parn'r voqu NAME: Martin Dyran

Part 4: FlNAL WAGES l BOUNCED CI'IECKS
26. Check which box applies to you:

 

25. DATE OF HlRE
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Monlh Uey rear

 

Year

 

leOlher (spaclty}; working as an employee since lan-2010

 

27a |f you QUlT. did you give 72
hours notice before qu|iling?

C|YEs

27b. |fycu ClU|Tl have you received your final payment of wages lnclud|ng all wages owed?

DYES. orl: it l

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28. if you were DlSCHARGE'|§, have you received your final payment of wages including all wages owed?
|:]YES, on:

|:lno

 

29a. i-icw were your wages paid?

E|e‘r cHEcK CleY CAsH l:leY eoTH oAsH s cHEck
|:loTHER:

 

 

leo

29b. ll paid by check, did any ol your paychecks 'bounce"
(tor examp|e. paycheck could not be cashed because
employer has insuilic|enl lunds}?

ClYEs

 

Part 5: HOURS YOU TYFICALLY WORKED

 

30. Check which box applies: l:]My work hours and days of work were usually the same each week that | worked.

-My work hours andior days of work varied per week or were irregular. if you checked this box

and you are claiming unpaid wages or meal and rest period violations, you should also fill
out and submit the DLSE FORM 55.

 

 

 

31. |f your work hours and days cf work were usually the same each week. give your BEST ESTIMATE below of the hours you
usually worked and anytime you took for a duly~free meal period during your TYP|CAL workweek. DO NOT l||l this out if
your work hours were too irregular to estimate a typical or average workweek {lnstead fill out the DLSE Form 55}.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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AMI celebrity Publications, LLC -_- _

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f’_ 801 ‘K’ Street, Suite 2101

 

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_é!_§._éi 1209 Orange St.
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Labor &-Workforce Development Agenc_y

 

A'gr|.sultura| Labor Relatlons Board 9 Callfcrn la Unemp|oyment insurance Appea[s Bcard
Cal|forn la Workforci=.` investment Boai'd - Departme`nt of'lndustria| Flé|at|ons
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seventeen E'dmund_ §._Broi_ivn Jr.` - sscnmnr Dav|d Lanie_r s JUL 2 5
3014

Ju|y 2‘1l 2014 CERT!F|ED MAIL

Emp|oyment Lawyers Group
13418 Ventura Bou|evard
Sherman Oal<s, CA 91423

RE: Emp|oyer: AMI Celebrity Pub|ications, LLC The Corporation Trust
Company

RE: Emp|oyee(s): Nlartin Dryan

RE: LWDA No: 16879

This is to inform you that the Labor and Wori<force Development Agency
(LWDA), in care of the Division of Labor Standards Enforcement (DLSE),
received your notice cf alleged Labor Code violations pursuant to Labor Code
Section 2699, postmarked June 12, 2014, and after review, does not intend to
investigate the allegations

As a reminder to you, the provisions of Labor Code Section 2699(i) provides
that "...civii penalties recovered by aggrieved employees shall be distributed as
follows: 75 percent to the LWDA for enforcement of labor laws and education of
employers and employees about their rights and responsibilities under this
code.” Labor Code Section 2699(|) specifies "The superior court shall review

and approve any penalties sought as part of a proposed settlement agreement
pursuant to this part."

Consequently, you must advise DLSE of the results of the |itigation, and forward
a copy of the courtjudgment or the court-approved settlement agreement
P|ease be certain to reference the above LWDA assigned case number in any
future correspondence

Sincerelyl

N'iark Woo-Sam
Genera| Counse|

Cc: AMI Celebrity Pub|ications, LLC The Corporation Trust Cornpany
1209 Orange Street
Wi|mington, New Cast|e, DE 19801

800 Capitoi Ma||, Suite 5000 - Sal:ramento,Ca|ifornia 95814 - EL{916}653-9900 - nix [916)653-6913 - www.|abor.ca.gov

CaS`e 5214-CV-Ol428-R-SE" " DOCUment 11 Filed 07/30/14 Page 29 Of 34 Page |D #:143

- STATE OF CALIFORNIA
DEPART].V[ENT OF INDUSTRIAL R_ELATIONS
DIVISION OF LABOR STANDARDS ENFORCEMENT

CERTtFICATIoN 0F sERvICE BY MAIL
(C. C. P. 1013A)

I, Belle Macaranas, do hereby certify that I am a resident or employed in the county of
San Francisco. lam over 18 years of age, not a party to the within action, and that I am
employed at the business address below:

DEPARTMENT OF INDUSTRIAL RELATIONS
DIVISION OF LABOR STANDARDS ENFORCEMENT
455 Golden Gate Avenue, 9m Floor

San Francisco, CA 94102

On 7122!2014, I served the within “Do Not Investigate” letter by placing a true copy
thereof in an envelope addressed as follows:

Ecnployment Lawyers Group

13418 Ventura Blvd.

Sherman Oaks, CA 91423

LWDA #168?9

Wbich envelope was then sealed with postage and certified mail fees, (if applicable) fully
prepaid thereon, deposited in the United States mail by

Ordinary first class mail
X Certified Mail

I DECLARE UNDER PENALTY OF PERlURY THAT THE FOREGOI'NG IS TRUE
AND CORRECT.

Executed on 7)'22/2014
at San Francisco, Califomia.

DLSE 544

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p-_ _

Document 11- Filed 07/30/14 Pa@e 31 of 34 Page |D #:145

    

The Gerher Building

13418 Ventura Bouleva.rd
Sherma.n Oaks, Califomia 91423

;`"L‘.._ 4 ¢

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Lawyers Gou_p

   

July 24, 2014
Via U.S. Cerrified Maz‘£ (Rerurn Receipt Reg_ues!ed)

Labor & Worki`orce Development Agency
801 K Street, Suite 2101
Sacramento, CA 95814

AMI Celebrity Publications, LLC

Andrew J. Jaramillo

Altus Law Firrn

l Park Plaza, Suite 600

Irvine CA 92614

Attorney for AMI Celebrity Publications, LLC

Re: Labor Code Vt'o!ations ofAMI Ce£ebr¢‘ty Publications, LLC-AMENDED
Compliance Len‘er ofCaliform'a Labor Code § 2698 er sec. - Private
Attorneys Genera! Act

Dear Department and Ernployer’s representative:

The purpose of this letter is to comply with the Private Attorneys Gencral Act of
2004, pursuant to Califomia Labor Code Sections 2699.3 and 2699.5 requiring written
notice by certified mail to the Labor and Worl<t`orce Development Agency and the employer
of the specific provisions of the Labor Code that have been violated by AMI Cclebrity
Publications, LLC aka AMI American Media Inc. (hereinat`ter “AMI“).

Martin Dryan retained this office to represent him and prosecute AMI’s violations of
Labor Code Sections 226.8, 226.3 and 226(a). Martin Dryan previously exhausted
administrative remedies as to Labor Code Sections 226, and 226.8 and now is amending his
claim to include exhaustion of administrative remedies as to the Labor Code Sections 226.3.
(See Mr. Dryan’s letter of June 12, 2014)

Set forth below, Mr. Dryan provides the following synopsis of damages he and other

similarly situated journalists have suffered and the civil penalties they seek to collect as
Labor Code Section 2699 claimants Plaintiff’ s representative claims involve

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misclassitication of employees as independent contractors so that AMI could avoid paying
taxes on their behalf.

At this time, Plaintiff is still investigating the number of employees misclassified by
the corporate Defendant Plaintiff believes the corporate Defendant may have employed
about 30 journalists during the statutory time period. As such, the damage calculations
below may change once the total number of affected employees has been determined
through the litigation discovery process.

SUM]VIARY OF LABOR CODE VIOLATIONS & DAMAGES
Labor Code Section 226(a), 226.3

Mr. Dryan and the other similarly situated journalists were not given valid
statements indicating why they were being paid what they were being paid and the correct
itemizations and tax withholdings

Califomia Labor Code Section 226(a) states every employer shall, semimonthly or
at the time of each payment of wages, furnish each of its employees an accurate itemized
statement.in writing showing the number of piece-rate units earned and any applicable
piece rate if the employee is paid on a piece-rate basis, the name and address of the legal
entity that is the employer and the inclusive dates of the period for which the employee is
paid. AMI violated Califomia Labor Code Section 226(a) because Plaintiff’ s and similarly
situated employees’ paycheck stubs did not show the number of piece-rate units earned and
any applicable piece rate, the name and address of the legal entity that is the employer and
the inclusive dates of the period for which the employee was paid and only the last four
digits of employee’s social security number or an employee identification number.

Califomia Labor Code Section 226.3 states any employer who violates subdivision
(a) of Section 226 shall be subject to a civil penalty in the amount of two hundred fifty
dollars ($250) per employee per violation in an initial citation and one thousand dollars
(31,000) per employee for each violation in a subsequent citation, for which the employer
fails to provide the employee a wage deduction statement or fails to keep the records
required in subdivision (a) of Section 226. The civil penalties provided for in this section are
in addition to any other penalty provided by law.

AMI violated Labor Code Section 226(a) and Califomia Labor Code Section 226.3
because AMI violated Califomia Labor Code Section 226(a). Plaintist paycheck stubs did
not show the number of piece-rate units earned and any applicable piece rate, the name
and address of the legal entity that is the employer and the inclusive dates of the period for
which the employee was paid, and the last four digits of Plaintift" s social security number
or an employee identification number. Accordingly, Mr. Dryan claims Califomia Labor
Code Section 2699 penalty of one hundred dollars ($lOO) for each aggrieved employee per
pay period for the initial violation and two hundred dollars ($200) for each aggrieved
employee per pay period for each subsequent violation of Labor Code Section 226.3. The

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amount claimed for this violation is $480,500 [(25 pay periods x $200 + $100 x 31
people)+( $200 x 26 pay periods x 31 people x 2 years)]. `

Please note the foregoing amount does not include compounded interest over the
statutory period, nor attorney’s fees and costs incurred by this office in prosecuting their
claims. Cal. Govt. Code § 2699(g)(l).

Very truly yours,

Employment awyers Group

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